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                                         Nick Rolovich           filed vaccine
                                                       and WSU, COVID  09/23/24         PageID.1337
                                                                               mandate deadline approaches                                                         Page 2
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                 SPORTS    >COLLEGE SPORTS • News
                 Would WSU actually fire Nick Rolovich? Examining the
                 exemption review process with the vaccine mandate
                 deadline approaching
                 Rolovich has until Oct. 18 to comply with Gov. Jay Inslee's order

                            By JON WILNER I jwilner@bayareanewsgroup.com I Bay Area News Group
                            UPDATED: October 7, 2021 at 6:29 p.m.




                 Washington State has entered the decision phase with football coach Nick Rolovich. At any point in the next 11 days, the university will determine his
                 fate.

                 A mid-season dismissal is within the realm of possibility.

                 Rolovlch announced in July that he would not receive the COVID vaccine but has offered no update on his situation, except to say that he would
                 comply with Washington Gov.Jay lnslee's vaccine mandate.

                 According to that mandate, state employees in higher education must be fully vaccinated or receive a medical or religious exemption by Oct. 18.
                 Failure to comply will result in termination.

                 Presuming Rolovich didn't change his stance on the vaccine but desired to remain employed, he would have submitted an exemption request by the
                 start of this week.

                 At some point prior to Oct. 18, a team of at least two people trained in the exemption review process will determine if Rolovich's requests meets the
                 standard for approval established by WSU (in conjunction with the state attorney general's office).

                 As with all other exemption requests - the university has received hundreds of them - Rolovich's name and department are not visible to those
                 reviewing the application. The blind review was designed to create fairness for employees across all WSU campuses, regardless of position or salary.

                 There are two possible outcomes.

                 - If Rolovich's request for an exemption is denied:

                 He would have the option to get vaccinated by Oct 18. If he follows that course, Rolovlch would be placed on unpaid leave (or could take vacation
                 time) until the day he becomes fully vaccinated.

                 (With the one-shotJohnson &Johnson vaccine, he would be eligible to return to work after two weeks.)

                 If Rolovlch's request is denied and he refuses to get vaccinated by Oct. 18, the university would begin the separation process.

                 The timeline for termination differs by employment status - one process for tenured professors, another for administrative personnel, etc. Roiovich
                 has a contract (until June 30, 2025) that includes provisions for termination with and without cause.

                 - If Rolovlch's exemption request is approved:

                 If the blind review results in the approval of Rolovich's exemption request. the process would enter a second phase.

                 Washington State vice president for communications Phil Weiler could not discuss Rolovich's case specifically- the university Is prohibited by law
                 from commenting- but Weiler outlined the exemption process in general terms.

                 An approved request would be sent to the human resources department, which would identify the employee in question and send an email to his/her
                 supervisor indicating the exemption had been approved.


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https://www.mercurynews.com/2021/10/07/would-wsu-actually-fire-nick-rolovich-examining-the-exemption-review-process-as-vaccine-mandate-deadlin...                           1/3
7/31/24, 6:35 Case
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                                                                               mandate deadline approaches                                                                 Page 3
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                 At that point, according to Weiler, the supervisor would determine if the unvaccinated employee would be capable of "keeping the public safe" and
                 performing his/her job effectively.

                 The employee would be required to follow WSU's policy for unvaccinated individuals, which includes limiting in-person contact as much as possible
                 and, when interaction is required, wearing a mask and following social distancing guidelines.

                 (An unvaccinated graphic designer who works alone in an office could function effectively and keep the public safe. But that might not be the case
                 with an unvaccinated food service employee who works close to hundreds of students.)

                 If the supervisor determined the unvaccinated employee could continue functioning effectively and keeping the public safe, the supervisor would
                 notify human resources that the exemption had been granted. The employee would then be informed.

                 If the supervisor determined the unvaccinated employee could not function effectively and keep the public safe, then human resources would be
                 notified the request had been denied and the employee would be informed - and he/she would have until Oct. 18 to get vaccinated.

                 Would Rolovich, if unvaccinated, be capable of functioning effectively and keeping the public safe?

                 His contract, which was obtained by the Hotline, outlines a list of 13 "specific duties and responsibilities."

                 They include all the standard stuff, from making staff decisions to meeting competitive goals and following sound fiscal policy with the program's
                 budget.

                 - But subsection 'h' states: "Under the direction of the Athletic Director, participate in events, activities, and/or efforts to foster support for the
                 University's Athletic Department and/or the Football program;"

                 - And subsection 'i' states: "Serve as director ofinstructional youth Football programs to be held in athletic facilities at the University's Pullman
                 campus if deemed applicable,~

                 - And subsection 1' states: '7he Athletic Director or his designee may reasonably assign other duties from time to time that are consistent with
                 customary duties of a Head Football Coach at a Division I Football program;•

                 There is more to Rolovich's job than running practice, watching film and coaching during games. If unvaccinated, would he be capable of executing the
                 external duties (recruiting. fundraising. directing the youth programs, representing the university In public events) at the expected level?

                 If the exemption request were approved via the blind process, then his supervisor, athletic director Pat Chun, would determine if Rolovich could carry
                 out his duties effectively and keep the public safe.

                 That's where the formal nature ofWSU's process diverges from reality:

                 Chun won't make the determination alone.

                 A decision of that magnitude - Rolovich is the highest-paid state employee and the public face of WSU athletics - will be made by president Kirk
                 Schulz. presumably with significant input from Chun and perhaps others, including provost Elizabeth Chilton, chief human resources officer Theresa
                 Elliot-Cheslek and possibly even Marty Dickinson, chair of the WSU Board of Regents.

                 This is the antithesis of a typical coaching evaluation. It's an unprecedented situation - all of Rolovich's peers in the Pac-12 are vaccinated - cast
                 against the state of Washington's attempts to contain the pandemic.

                 Would the university actually fire Rolovich over this?

                 Weiler declined to address the specific situation but said of an unvaccinated employee who doesn't meet the standards for an exemption:

                 "Washington State has no latitude. The Governor's mandate was clear."


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